                                                                         1



 1                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
 2                           SOUTHERN DIVISION
     ________________________________
 3                                    )
     UNITED STATES OF AMERICA,        )
 4                                    )
                                      ) 7:16-CR-120-1D
 5               vs.                  )
                                      )
 6   KEJUAN TIZOM SHABAZZ SMITH,      )
                   Defendant.         )
 7   ________________________________)

 8
                              SEPTEMBER 13, 2017
 9                            SENTENCING HEARING
                    BEFORE THE HONORABLE JAMES C. DEVER III
10                    CHIEF UNITED STATES DISTRICT JUDGE

11

12   APPEARANCES:

13   On Behalf of the Government:

14
     TOBIN LATHAN, ASSISTANT U.S. ATTORNEY
15   U.S. Attorney's Office
     310 New Bern Avenue, Suite 800
16   Raleigh, North Carolina 27601

17

18   On Behalf of the Defendant:

19
     GEOFFREY W. HOSFORD
20   Hosford & Hosford, P.C.
     P.O. Box 1653
21   Wilmington, North Carolina        28401

22

23
                        AMY M. CONDON, CRR, CSR, RPR
24                         Official Court Reporter
                        United States District Court
25                       Raleigh, North Carolina
                Stenotype with computer-aided transcription

         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 1 of 35
                                                                             2



 1      (Wednesday, September 13, 2017, commencing at 9:00 a.m.)

 2                             P R O C E E D I N G S

 3               THE COURT:     Good morning and welcome to the United

 4   States District Court for the Eastern District of North

 5   Carolina.

 6               The first matter we'll take up is the sentencing of

 7   Kejuan Smith.

 8               Good morning, Mr. Hosford.          Are you and Mr. Smith

 9   ready?

10               MR. HOSFORD:     Yes, sir, we are.

11               THE COURT:     Is the Government ready?

12               MR. LATHAN:     Yes, Your Honor.

13               THE COURT:     At this time I ask that Mr. Smith be

14   sworn or affirmed.

15        (The defendant, Kejuan Tizom Shabazz Smith, was duly

16   sworn.)

17               THE COURT:     Mr. Smith, do you understand that having

18   been sworn, that your answers to my questions are subject to

19   the penalty of perjury, sir?

20               THE DEFENDANT:      Yes, sir.

21               THE COURT:     And if you were to lie to me you could be

22   prosecuted for perjury or for making a false statement; do you

23   understand that?

24               THE DEFENDANT:      Yes, sir.

25               THE COURT:     Have you taken any kind of medicine or


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 2 of 35
                                                                               3



 1   any other substance in the last 48 hours that would affect your

 2   ability to hear and understand these proceedings?

 3              THE DEFENDANT:       No, sir.

 4              THE COURT:     Do you know why you're here today?

 5              THE DEFENDANT:       Yes, sir.

 6              THE COURT:     Mr. Hosford, do you have any reason to

 7   doubt Mr. Smith's competence to go forward today?

 8              MR. HOSFORD:      No, Your Honor.

 9              THE COURT:     Does the Government have any reason to

10   doubt Mr. Smith's competence to go forward today?

11              MR. LATHAN:      No, Your Honor.

12              THE COURT:     Based on Mr. Smith's answers to my

13   questions, my observations of Mr. Smith and the answers from

14   counsel, I find he is competent to go forward here today.

15              Mr. Smith, you're here today having entered a plea of

16   guilty to five charges.       The first charge is conspiracy to

17   distribute a quantity of heroin.           The next three charges are

18   distribution of a quantity of heroin and aiding and abetting.

19   The final charge is possession of a firearm by a felon.             You

20   entered a plea of guilty to those charges in this court.

21              In light of some cases from the Supreme Court of the

22   United States including the Booker, Rita, Gall, Kimbrough,

23   Spears and Nelson cases, the sentencing guidelines are no

24   longer mandatory; they're advisory.

25              Nevertheless, in accordance with those cases and the


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 3 of 35
                                                                                      4



 1   Fourth Circuit interpreting them, including the Carter, Pauley ,

 2   and Evans cases, a sentencing Court still must take into

 3   account the now-advisory guidelines.

 4              The Court does this by initially making findings of

 5   fact and calculating an advisory guideline range.                   The Court

 6   will then consider all arguments that your lawyer makes on your

 7   behalf, any statement you'd like to make, and all arguments of

 8   the Assistant United States Attorney.            I'll then determine your

 9   sentence and announce it here in court this morning.                   That'll

10   be the process we'll follow.

11              Mr. Hosford, did you receive a copy of the

12   presentence report?

13              MR. HOSFORD:      Yes, Your Honor.

14              THE COURT:     Mr. Smith, did you receive a copy of that

15   report?

16              THE DEFENDANT:       Yes, sir.

17              THE COURT:     Did you speak with your lawyer, Mr.

18   Hosford, about that report?

19              THE DEFENDANT:       Yes.

20              THE COURT:     At this time the Court directs that the

21   presentence report be placed in the record under seal.

22              In accordance with Rule 32 of the Federal Rules of

23   Criminal Procedure, the Court accepts as accurate the

24   presentence report, except as to matters in dispute as set

25   forth in the addendum.       I have received the entire report,


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 4 of 35
                                                                                  5



 1   including the addendum.       The addendum does contain numerous

 2   objections.

 3              Mr. Smith, you may have a seat while we take up these

 4   objections.

 5              Mr. Hosford, do you want to be heard on all these?

 6              MR. HOSFORD:      No, Your Honor.       I'd like to be heard

 7   first with objection number six, which deals with the objection

 8   to Mr. Smith's status as a career offender.              That would make

 9   the most sense to begin with, Your Honor.

10              THE COURT:     Okay.     I'll hear you.

11              MR. HOSFORD:      May it please the Court.          We objected

12   to Mr. Smith's status as a career offender as determined by the

13   Probation Office based upon his conviction for common law

14   robbery.

15              The common law robbery conviction, Your Honor, it's

16   our position that that does not qualify as a predicate offense

17   under 4B1.2.    What I cited in the objection was the Gardner

18   case, United States v. Gardner , G-A-R-D-N-E-R, 823 F.3d 793

19   (4th Cir. 2016), which the Court held that the common law

20   robbery was not considered a crime of violence as defined by 18

21   United States Code, Section 924(e)(2)(B)(i).              And that's

22   obviously the career offender section, Your Honor, of the

23   statute of 924.     The career offender in that statute defines

24   violent felony as an offense punishment by imprisonment of a

25   term exceeding one year involving the use or carrying a


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 5 of 35
                                                                                  6



 1   firearm, knife or destructive device, and has an element of

 2   use, attempted use or threatened use of physical force against

 3   a person of another.

 4              Obviously in 4B1.2, in defining crime of violence for

 5   purposes of career offender, the Guidelines define crime of

 6   violence as an offense punishable by imprisonment exceeding one

 7   year, that one has an element the use, attempted use,

 8   threatened use of physical force against a person of another.

 9              I know the Court is aware of the pending litigation

10   in the Fourth Circuit now in the Gattis case, and Your Honor,

11   it's our position that based on the decision in Gardner and the

12   logic of Gardner would apply here and common law conviction

13   would not be a predicate offense for career offender purposes.

14              THE COURT:     Mr. Lathan, I got your brief.             Do you

15   want to say anything else?

16              MR. LATHAN:      Just briefly.       We'd rest on the

17   arguments made in our brief, but as the Court is aware, our

18   primary argument has less to do with the use of force and

19   issues addressed in Gardner and more to do with the fact that

20   robbery is an enumerated crime under 4B1.2, and it's our

21   argument that North Carolina's offense of common law robbery

22   falls within or is narrower than the generic definition of

23   robbery.   And as a result, it does constitute a crime of

24   violence under 4B1.2, and I would just note, as the Court is

25   aware, the defendant's objection to the base offense level


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 6 of 35
                                                                            7



 1   under 2K2.1 is based on the same issue and that is whether or

 2   not that common law robbery conviction qualifies as a crime of

 3   violence.    For the reasons set forth in our brief, which I'm

 4   happy to expand upon, we argue that it is.

 5               THE COURT:     Thank you.

 6               You agree, Mr. Hosford, that with respect to -- I

 7   think it's the fourth objection, the 2K2.1(A)(1) objection and

 8   the career offender objection tee up the same legal issue?

 9               MR. HOSFORD:     Yes, Your Honor.

10               THE COURT:     For purposes of both of those issues, the

11   Court has reviewed the PSR and considered the arguments and has

12   considered the sentencing memorandum at Docket Entry 305.

13               The focus here is on whether the common law robbery

14   conviction that Mr. Smith sustained reflected in Paragraph 59

15   qualifies as a crime of violence.           Everyone agrees he has a

16   controlled substance offense for purposes of 2K2.1A(1) and

17   career offender provision as a result of his conviction in

18   Paragraph 61 for conspiracy to sell and deliver heroin and sale

19   and deliver heroin.

20               I have obviously reviewed the Gardner case and I've

21   reviewed a number of other cases.

22               To determine whether a specific offense is

23   encompassed within the broader meaning of a crime listed by

24   generic title in a sentencing enhancement provision, the Court

25   must distill a generic definition of the predicate offense and


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 7 of 35
                                                                               8



 1   then determine whether the defendant's prior conviction

 2   constitutes a conviction of the generic offense.

 3              The Fourth Circuit describes these issues in United

 4   States v. Peterson , 629 F.3d 432, 436 (4th Cir. 2011).

 5   Distilling a generic definition requires concerning how the

 6   offense is applied with the criminal codes in most states.

 7              A defendant's conviction qualifies as a generic

 8   conviction of the crime unless the state statute under which he

 9   was convicted was broader than the generic definition.              See

10   United States v. Flores-Granados , 783 F.3d 487, 491, (4th Cir.

11   2015).

12              I do think North Carolina's common law robbery

13   statute in this conviction qualifies as a crime of violence

14   under both the Guideline provisions at issue.

15              The Fifth Circuit published an opinion in United

16   States v. Santiesteban-Hernandez , 469 F.3d 376, 380, Footnotes

17   5 and 6, (5th Cir. 2006), abrogated on other grounds, 711 F.3d

18   541 (5th Cir. 2013.)

19              In that opinion, the Fifth Circuit noted that 38

20   states and the District of Columbia defined robbery as taking a

21   person's property from a person or person's presence by means

22   of force or putting in fear, and 11 other states required

23   taking a person's property in circumstances that put the person

24   in immediate danger in terms of bodily injury.

25              The statute of the 38 states cited by the Fifth


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 8 of 35
                                                                            9



 1   Circuit, including North Carolina, require only force, not

 2   substantial force or force beyond de minimis force.

 3              I do think that North Carolina's robbery statute

 4   falls within this generic concept and definition and thus that

 5   conviction qualifies.

 6              I also am persuaded by the arguments at pages 3 and 4

 7   of the Government's sentencing memorandum concerning the

 8   changes to the Guidelines after Johnson and the inclusion of

 9   robbery and the discussion of both robbery and extortion on

10   pages 3 and 4 of their brief.

11              So that objection with respect to both career

12   offender and calculating the base offense level are overruled.

13              Do you want to be heard on any of the other

14   objections?

15              MR. HOSFORD:      The only other objection I want to be

16   heard on, Your Honor, is the objection to the four-point

17   enhancement for role in the offense.

18              Your Honor, it's our position that Mr. Smith is

19   deserving of a role enhancement.          We are asking the Court to

20   consider a two-point or three-point role enhancement.

21              And without going into too much detail, Your Honor,

22   you know the structure of the gang, you know how it works.

23   Mr. Smith is in charge of the Wilmington part of the gang, but

24   he has other people to whom he has to answer and decide what

25   kind of role he should receive and points should be assessed to


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 9 of 35
                                                                          10



 1   him in looking at 3B1.1 as well as the commentary, I think one

 2   factor that really jumps out is that if a defendant sees a

 3   greater portion of the proceeds referring to the crime, that's

 4   one thing they comment about twice within the Guideline itself

 5   and the commentary.       In this particular case, there really

 6   isn't any evidence that Mr. Smith received greater proceeds of

 7   the crimes of this gang in particular and, you know, in terms

 8   of collecting dues and that the dues go elsewhere and not

 9   Mr. Smith's pocket.

10              So I'd ask the Court to consider applying a two- or

11   three-point enhancement in lieu of the four-point enhancement

12   for Mr. Smith.

13              THE COURT:      Mr. Lathan?

14              MR. LATHAN:      It's our position that the four-point

15   enhancement for a leader and organizer of criminal activity is

16   applicable in this case.

17              We recognize that with respect to the one factor of

18   share of the proceeds, that probably doesn't favor either

19   party's argument in this case, but there are many other factors

20   that are notably nonexclusive that are listed in the commentary

21   of 3B1.1 Note 4 that would -- that would favor a finding that

22   the defendant was a leader and organizer of criminal activity

23   in this case.

24              Just to name a few examples coming from the

25   uncontested facts in the PSR, one would be the drug conspiracy


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 10 of 35
                                                                            11



 1   that's at issue here and really what we have is a loose-net

 2   conspiracy among members of the 9-Trey Gang in Wilmington to

 3   distribute heroin.      And as a part of that conspiracy, evidence

 4   was derived in this investigation from a Title III wiretap and

 5   also from controlled buys from this defendant, and that

 6   evidence revealed that the defendant had individuals

 7   essentially working for him in his heroin distribution

 8   activities.    He had individuals who were couriers, individuals

 9   who when he sold heroin, that is, the defendant, he would have

10   these other subordinate gang members actually make the delivery

11   and collect money on occasions for him.             So he did direct the

12   activities of others with respect to the drug conspiracy, but,

13   as the Court knows, it's not just the drugs that are at issue

14   here.

15              These offenses relate to a larger and broader

16   criminal enterprise; and that is, the criminal activities of

17   the 9-Trey Bloods in Wilmington, because you also have the

18   firearm offenses that are -- that are at issue at the

19   sentencing, and I think that's where we find a lot more of the

20   evidence of the defendant's leadership and organization.

21              First, directing the Court's attention to paragraph

22   26 and 30 through 35 of the PSR, this describes a conspiracy to

23   commit a murder or aggravated assault as part of the offense

24   conduct in this case.       And essentially, that is that the

25   defendant as the leader of the 9-Trey Bloods in Wilmington was


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 11 of 35
                                                                               12



 1   involved with an altercation with another gang member in

 2   Goldsboro, or so-called beef in gang terminology.                And during

 3   the period of time of this investigation that the defendant's

 4   calls were intercepted pursuant to a Title III wiretap, it

 5   became obvious and apparent that the defendant was planning and

 6   organizing, orchestrating a plot to travel to Goldsboro to

 7   carry out a murder or a hit of this person with whom he had the

 8   beef.

 9              As part of that plan, the defendant directed his

10   subordinate gang members to deliver to him firearms that belong

11   to the 9-Trey in general.

12              The defendant was the planner of this conspiracy.                  He

13   was the brain child.       It was his idea.        He's the one who

14   discussed it.     He's the one who recruited other gang members to

15   participate in this crime of violence, and he's the one who

16   directed those gang members to deliver the firearms to him at a

17   residence in Wilmington where they were compiled, stockpiled in

18   anticipation to travel to Goldsboro to carry out this hit.

19              This all culminates on August 4, 2016, where the

20   defendant holds a gang meeting, where he informs some of the

21   other gang members of what's going to take place the following

22   morning.   The plan is to wake up and travel to Goldsboro to

23   carry out this hit.       And that afternoon, the defendant posts to

24   a social media account a photograph of all of these guns that

25   he's compiled on a kitchen table.


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 12 of 35
                                                                                  13



 1              At that time, law enforcement was aware that violence

 2   was imminent and as they had done on several occasions before

 3   during this investigation, they took action to thwart that.                      A

 4   search warrant is obtained, executed at the house where the

 5   defendant had been that day and these firearms, 13 in total,

 6   along with ammunition, which we'll describe later, were found

 7   near the rear perimeter of the property.

 8              As that search warrant is being executed to further

 9   evidence the defendant's direction and control over this plot,

10   the defendant is intercepted communicating with a subordinate

11   gang member and directing that gang member to gather some of

12   the other gang members and to try to get those guns and move

13   those guns before law enforcement could find them.                   They were

14   not successful in doing that.          Law enforcement did find and

15   seize those guns, but the defendant was the organizer and

16   leader of that criminal activity which was a part of the

17   broader offense conduct at issue in this case.               That's just one

18   example.

19              And I'll briefly mention a few other examples.                  The

20   evidence in this case established that the defendant

21   orchestrated a plot to commit a home invasion and robbery of a

22   rival drug dealer known as Reese Gotti, and that's described in

23   paragraphs 36 through 43 of the PSR.

24              Essentially, during the month of July of 2016, the

25   defendant there organized and directed efforts to locate this


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 13 of 35
                                                                                14



 1   other person's residence and then to commit a home invasion and

 2   robbery of this person's residence.            And on a daily basis the

 3   defendant is intercepted communicating with his subordinate

 4   gang members in furtherance of his efforts to carry this out.

 5              They're conducting surveillance, the defendant is

 6   recruiting other subordinate gang members to participate with

 7   him in conducting surveillance and try to carry this out.                 The

 8   defendant directs others to bring him guns as part of this plot

 9   that they are going to use to carry out this home invasion and

10   then that all culminates when -- on July 26th when it becomes

11   apparent to law enforcement that this is imminent.

12              The defendant and others are in a car traveling to,

13   we believe, that residence to carry out this home invasion.

14   Law enforcement initiates traffic stops.             Some of the

15   subordinate gang members are arrested or they're stopped, some

16   flee on foot with the guns in hand; and shortly thereafter, a

17   phone call is intercepted between the defendant and one of

18   those gang members where the defendant gives orders to his

19   subordinate gang members related to this conspiracy.                 And that

20   being tell them to "wipe it down" referring to the firearm and

21   "hurry up and take it to the next trashcan."               There, the

22   defendant is directing a subordinate gang member to wipe the

23   fingerprints and DNA off of a firearm and dispose of that

24   firearm in a trashcan to elude detection by law enforcement.

25              Examples continue.        As set forth in paragraphs 44


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 14 of 35
                                                                            15



 1   through 47 of the PSR there was a separate conspiracy to

 2   conduct a drive-by shooting on rival gang members and that too

 3   was led and organized by the defendant.             These were rival

 4   neighborhood gang members known as the BO Boys and on one

 5   occasion during the wire, a subordinate gang member contacts

 6   the defendant -- this is set forth in 44 through 47 of the

 7   PSR -- contacts the defendant and notifies the defendant that

 8   some of the BO Boys are standing outside basically on a street

 9   corner, and the reason for this call is that as the leader of

10   the gang, as the leader of the 9-Trey, subordinate gang members

11   were not able to just go out and commit gang-related acts of

12   violence without his knowledge and without his endorsement.

13              So set forth in the PSR there is this call about BO

14   Boys being on the corner and defendant would proceed to help

15   organize and direct a would-be drive-by shooting of these rival

16   gang members which was also thwarted by law enforcement.

17              Finally, in paragraph 48 of the PSR there's a call

18   intercepted where a subordinate gang member contacts the

19   defendant with regard to committing an armed robbery of another

20   individual.    This, too, is a subordinate gang member seeking

21   the defendant's endorsement and permission to do so and the

22   defendant's response to that subordinate gang member as set

23   forth in paragraph 48 of the PSR is to mask up, meaning wear a

24   mask when you do it.

25              The defendant organized and directed gang meetings.


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 15 of 35
                                                                               16



 1   The investigation established that he recruited new gang

 2   members.   He disciplined gang members for their failure to

 3   adhere to the rules of the gang.           And for those reasons and

 4   others, the defendant was an organizer and leader within the

 5   meaning of 3B1.1A.

 6              THE COURT:      Thank you.

 7              Section 3B1.1(a) provides for a four-level

 8   enhancement if the defendant was an organizer or leader of a

 9   criminal activity that involved five or more participants or

10   was otherwise extensive.

11              The PSR details that this gang activity that

12   Mr. Smith led involved five or more participants or was

13   otherwise extensive.

14              The Guideline commentary provides relevant

15   consideration for distinguishing leaders and organizers for

16   managers and supervisors.         The commentary notes that titles

17   such as "kingpin" and "boss" are not controlling.                The factors

18   the Court should consider include the exercise of

19   decision-making authority, the nature of participation in the

20   commission of the offense, the recruitment of accomplices, the

21   claimed right to a larger share of the fruits of the crime, the

22   degree of participation in planning or organizing the offense,

23   the nature and scope of the illegal activity and the degree of

24   control and authority exercised over others.

25              Other than the claimed right to a larger share of the


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 16 of 35
                                                                           17



 1   fruits of the crime, all the other factors support the

 2   four-level enhancement in this case.

 3              The Court notes and has been discussed here, the

 4   defendant during the controlled purchases of heroin had

 5   lower-ranking gang members collect money at his direction and

 6   had runners deliver heroin for him.            These issues are all

 7   discussed in paragraphs 18 and 19 of the PSR.

 8              The defendant had a beef with a rival gang leader

 9   named Gullah in Goldsboro and decided to carry out a hit or

10   murder of this rival gang member.           As part of this, he

11   contacted and directed numerous subordinates and told them to

12   deliver firearms belonging to the gang as discussed in

13   paragraph 26 of the PSR.

14              The day before the gang was to travel to Goldsboro to

15   carry out the hit, law enforcement executed a search warrant at

16   the residence where the guns had been stockpiled along with the

17   ammunition.    The defendant became aware of the search warrant

18   being executed and contacted some more of the gang members and

19   directed them to attempt to retrieve the guns and ammunition.

20   They were not able to do that because of the presence of law

21   enforcement.

22              During the month of July, the evidence shows and

23   described in the PSR at paragraphs 36 to 47 that he organized

24   and directed the gang to commit a home invasion and robbery of

25   a rival drug -- or gang leader, drug dealer named Reese Gotti.


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 17 of 35
                                                                                18



 1   Again, they traveled, the defendant along with other gang

 2   members traveled in their vehicles and in possession of

 3   firearms with intent to carry out the home invasion.                 When it

 4   appeared the crime was imminent by virtue of the Title III

 5   wiretap, law enforcement was able to intervene with a traffic

 6   stop and prevent that impending act of violence that defendant

 7   had organized and led.

 8              He also, after that, ordered the gang members to wipe

 9   down the guns and get rid of them as described in paragraph 43.

10   The report indicates that a gang member had to seek his

11   approval to commit a robbery, he told him how to do it and mask

12   up as described in paragraph 48.

13              He led efforts to and organized efforts and exercised

14   decision-making authority and recruited accomplices and

15   participated in planning and exercised control in connection

16   with all of these activities as well as his plans associated

17   with drive-by shootings on rival members of a BO Boys gang and

18   then organizing and directing gang meetings, recruiting gang

19   members, disciplining gang members as the head of the Blood

20   sect in Wilmington.

21              The four-level enhancement applies in this case and

22   the objection is overruled.

23              Are there any other objections?

24              MR. HOSFORD:       May it please the Court.          We don't need

25   to be heard on the remaining objections.


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 18 of 35
                                                                             19



 1              THE COURT:      The other objections don't affect the

 2   advisory guideline range and those objections are overruled.

 3              Any objections from the United States?

 4              MR. LATHAN:      No, Your Honor.

 5              THE COURT:      All right.      The total offense level is

 6   34, the criminal history category is 6, the advisory guideline

 7   range is 262 to 327 months.

 8              Does the Government object to that advisory guideline

 9   range?

10              MR. LATHAN:      No, Your Honor.

11              THE COURT:      With all your objections preserved, do

12   you agree that as a ministerial matter that that's the

13   calculation that the Guidelines yield for a 34 and a 6?

14              MR. HOSFORD:       Yes, Your Honor.

15              THE COURT:      All right.      I'll hear first from Mr.

16   Hosford, I'll then hear from the defendant, if he wants to make

17   a statement, I'll then hear from Mr. Lathan.

18              MR. HOSFORD:       Your Honor, may it please the Court.

19   About a week ago or so I called a fellow named George Taylor,

20   who's in Wilmington.       Mr. Taylor is an entrepreneur and has

21   several businesses and has been successful in his life.              He has

22   started a program at several of his businesses, part of which

23   is a software company where he is hiring gang members to come

24   work for him.

25              One of the goals of his program, one of his


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 19 of 35
                                                                                  20



 1   requirements is that these fellas remain as members of the gang

 2   while they get jobs with him and work to become productive

 3   members of society.

 4              He's paying these young men in the neighborhood of 40

 5   to $50,000 a year, more money than they have ever seen or made.

 6              Mr. Smith was exposed to Mr. Taylor's program right

 7   before he was arrested for the case here.              He actually traveled

 8   with Mr. Taylor to California, to Los Angeles where they met

 9   with some folks who were operating a similar program out in

10   California.

11              So while he could have benefited greatly by that

12   program, the reason I'm talking about this is when I talked to

13   Mr. Taylor and asked him how is things going, he said that he's

14   had success, had success with some of these fellas that were

15   leaders of other gangs in Wilmington and that they transitioned

16   into this program and can be productive people.

17              Mr. Smith is obviously looking at a lengthy sentence,

18   Your Honor.    When you look at the sentencings that other

19   defendants received in this case, he's going to receive two,

20   three, four times as long as anybody else.              He understands

21   that.   And he's 24 and about to be 25.            He doesn't really have

22   any job skill.     We're asking that you recommend vocational

23   training for him while he's in the Bureau of Prisons.                We're

24   asking you to recommend educational training for him; he didn't

25   complete high school.


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 20 of 35
                                                                            21



 1              And in deciding what sentence is sufficient, but not

 2   greater than necessary, we're also asking you not to give up on

 3   a 24-year-old about to be a 25-year-old because the report is a

 4   terrible report, and he's done terrible things and he's going

 5   to serve a really lengthy sentence, but a really lengthy

 6   sentence -- I've represented a lot of young men that have gone

 7   to prison and a lot of them have the same reaction, that life

 8   is over for them.      And it's not over.        He's 24, going to be 25,

 9   he's got a lot of life left.

10              The Court can fashion a sentence at the low end of

11   the range which would accomplish the goals of sentencing, it

12   would promote respect for the law, it would incapacitate him

13   for an extended period of time, it would keep him out of

14   Wilmington.    It would give him an opportunity to finish his

15   education, to learn some job skills so that when he does come

16   home, he can come home with something, a way to earn a

17   legitimate living.

18              A guideline sentence within the guideline would meet

19   all those goals of 3553(a) and it would show the public that

20   the Court is not going to tolerate this kind of conduct, it's

21   going to give a lengthy sentence.           A 262-month sentence is, in

22   fact, a lengthy sentence.         It's almost as long as he's been

23   alive.

24              His family is here today.           Obviously, they love him,

25   they support him, they worry about him.             He's ready to face his


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 21 of 35
                                                                               22



 1   punishment.    We're just asking that you don't give up on a 24,

 2   25-year-old.    That he can make many changes in his life; that

 3   the Court can fashion that sentence.

 4              Unfortunately for Mr. Smith, he didn't get the

 5   benefit of Mr. Taylor's program.           Some others are going to get

 6   the benefit.    Those are the requests and those are the reasons

 7   for the sentencing at the bottom of the range.

 8              THE COURT:      At this time I'll hear from Mr. Smith, if

 9   you'd like to make a statement.

10              MR. HOSFORD:       He doesn't want to make a statement.

11              THE COURT:      All right.      Thank you.

12              At this time I'll hear from Mr. Lathan.

13              MR. LATHAN:      Your Honor, the defendant committed

14   these offenses at a time when he had already amassed a very

15   serious history involving violence, firearms and drug

16   distribution in the Wilmington area.

17              In 2009 the defendant is convicted on a robbery and

18   burglary count as set forth in paragraph 59 of the PSR.                This

19   offense involved the defendant breaking into a residence of the

20   victim for purposes of robbing and kidnapping the victim.                The

21   defendant took the telephone handset of the victim to prevent

22   the victim from calling for emergency assistance.                The

23   defendant subsequently robbed the victim of money and telephone

24   handset by threatening the use of a shotgun.

25              Lastly, the defendant assaulted the victim by


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 22 of 35
                                                                                 23



 1   striking the victim in the face with a locked blade knife.

 2   That was the defendant's first criminal conviction that

 3   occurred in 2009.

 4              The defendant would go on to be convicted in 2011 of

 5   possession of a firearm by felon and then in 2015 a conspiracy

 6   to sell and deliver heroin, sell and deliver heroin several

 7   counts.

 8              Upon his conviction in 2015, the defendant was

 9   sentenced to 10 to 21 months in State custody.               His

10   post-release supervision began in 2016 and it was very soon

11   thereafter that the defendant would engage in the offense

12   conduct that gives rise to this sentencing; and that is, the

13   defendant would go on to become the leader, the five-star

14   general of one of the most violent gangs around, the 9-Trey

15   Bloods in Wilmington.

16              In that capacity the defendant directed and organized

17   and led and recruited the activities of the scores of

18   subordinate gang members who are responsible, and therefore the

19   defendant being responsible for mass heroin distribution and

20   mass acts of violence on the streets of Wilmington.                  They were

21   truly a threat to the community and that can't be overstated.

22              The 9-Trey Bloods, Your Honor, the sect that the

23   defendant directed in Wilmington was a part of the United Blood

24   Nation.   This is a gang that's well-organized, the structure is

25   hierarchal in nature.       They maintain a strict chain of command.


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 23 of 35
                                                                             24



 1   Gang members are assigned a rank which comes with specific

 2   duties and responsibilities.         The defendant is essentially the

 3   leader of the Wilmington-based sect of the 9-Trey.

 4              In that capacity the defendant reports to an

 5   individual by the name of Omar Reid, also known as Omega, and

 6   this is the Omega line of the United Blood Nation.

 7              At the time of these offenses Omar Reid was serving a

 8   sentence of imprisonment in New Mexico based on a North

 9   Carolina conviction as part of a prisoner exchange program.

10   And just to evidence the structure and the organization of this

11   violent and dangerous gang, as part of this Title III wiretap

12   where the defendant's phone conversations are being

13   intercepted, he's communicating with Omar Reid, who is in New

14   Mexico in his cell still continuing to direct the activities of

15   his various sects along the east coast.             They converse and

16   discuss the activities of the gang, they discuss the gang

17   activities going forward and the defendant takes what Omar Reid

18   gives him and he carries those orders out.

19              That context is important because all the offenses

20   that are charged in this indictment, both the defendant's and

21   his co-conspirators, are all gang-related.              It all goes back to

22   the activity of the gang.

23              We discussed the conspiracy to commit murder.             Just

24   this snapshot that the investigation gives us of the activities

25   of this gang really just over about a month-long period of time


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 24 of 35
                                                                                 25



 1   evidenced multiple conspiracies to commit very serious violent

 2   crimes.   It evidenced a gang that maintains scores of firearms,

 3   which they keep at various locations in Wilmington which are

 4   available for use by the gang at the drop of a hat, any time

 5   there needs to be a robbery committed, a home invasion

 6   committed, some act of violence, a drive-by shooting, there are

 7   dozens of firearms and ammunition waiting for that 18-year-old,

 8   that 19-year-old to grab that gun and then go start firing

 9   bullets on the streets of Wilmington.            That was the 9-Trey.

10   That's the violence.

11              And then there's the heroin distribution.                 Calls were

12   intercepted on a daily basis with the defendant and other gang

13   members in furtherance of their efforts to take the poison that

14   is heroin and sell it on the streets for the gang, and the

15   defendant was at the center of all of that.              Sometimes it was

16   the defendant who had the heroin, sometimes he would direct

17   them to Khalil Truesdale, Nutty, or one of the fellow gang

18   members, but that is pretty much the lifestyle that these

19   individuals live; gang violence and heroin distribution.

20              We've already discussed the conspiracy to commit

21   murder of this rival gang member in Goldsboro, the defendant's

22   efforts to organize and lead that conspiracy and carry out that

23   hit where he reaches out to all his fellow gang members, and

24   this is evidence of the power and authority that he has, the

25   ability of this defendant to make things happen, bring me the


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 25 of 35
                                                                                  26



 1   guns, bring me the Glock, bring me the MP.              Within a relatively

 2   short period of time, there's a virtual stockpile of firearms

 3   and ammunition sitting in the kitchen with the defendant.

 4              Law enforcement executes a search warrant just in the

 5   nick of time apparently and found in the back, in the backyard

 6   is an AR .22 caliber assault rifle with a 30-round magazine,

 7   .38 caliber revolver, two stolen 9mm handguns, a stolen .40

 8   caliber handgun, another stolen .45 caliber handgun, another 45

 9   caliber handgun, a .38 caliber Derringer, a .40 caliber handgun

10   loaded with 10 rounds of ammunition, a .22 caliber handgun

11   loaded with five rounds of ammunition, another .22 caliber

12   handgun loaded with nine rounds of ammunition, a 12-gauge

13   shotgun, an assault rifle, a military-grade ballistic vest and

14   a whole host of additional rounds of ammunition.                They meant

15   business and this is just a day in the life of the 9-Trey

16   Bloods.

17              Around the same period of time, there are more than

18   one iron in the fire.       There are other conspiracies, a

19   conspiracy to rob a rival gang member, Reese Gotti, there are

20   conspiracies to conduct drive-by shootings on other rival gang

21   members, the BO Boys.       And at the forefront of all of this, the

22   puppet master is the face of the gang, the defendant.

23              And this Court has sentenced other members of the

24   gang, other charged in the conspiracy.             One of the common

25   narratives you see when you have a 20-year-old or a 19-year-old


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 26 of 35
                                                                                   27



 1   gang member who is being sentenced now for heroin distribution

 2   or firearm possession, or what have you, is looking back at

 3   their life and trying to determine, and their family is trying

 4   to determine, how did he fall into the crosshairs of the gang.

 5   How did he go from being a 12-year-old kid to a 19-year-old

 6   gang member.

 7               And one of the common themes you see is

 8   vulnerabilities at that early age.           You see lack of a father,

 9   you might see lack of family support, you might see substance

10   abuse issues, you might see some mental health issues, some

11   anger issues, but all things that make that youngster

12   vulnerable and in that situation is wherein steps the gang, in

13   steps the predator who seizes upon those vulnerabilities and

14   brings that person into a gang, into a group where all of a

15   sudden for the first time they feel special, they feel

16   appreciated, they feel like they are somebody.               But the next

17   thing you know, you're in a gang and you can't get out.                 And

18   you're doing drive-by shootings and you're selling heroin.

19               And the puppet master, the person who is preying on

20   those vulnerabilities is the defendant in this case.                 And he

21   did that for an extensive period of time.              He was aggressive

22   about it.    It's not just the violence, it's not just the

23   heroin.

24               On this Title III wiretap scores of conversations are

25   intercepted where the defendant is actively going out and


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 27 of 35
                                                                                 28



 1   trying to recruit other gang members, trying to build the gang

 2   up and make it as big and as well-organized as he can, trying

 3   to bring gang members in who are about to get out of prison,

 4   people who are trying to be rehabilitated the defendant is

 5   trying to bring them home, back into the gang once they get

 6   out.

 7                 He truly went about his life with the criminal

 8   mindset, the mindset of a leader of a gang.                 And for those

 9   reasons, Your Honor, we would submit that a sentence at the top

10   of the advisory guideline range is appropriate.

11                 THE COURT:      Thank you.

12                 Anything else, Mr. Hosford?

13                 MR. HOSFORD:       No, Your Honor.

14                 THE COURT:      The Court recognizes its obligation to

15   impose a sentence sufficient, but not greater than necessary,

16   to comply with the purposes set forth in the statute.

17                 I have considered all arguments Mr. Hosford has made,

18   I have considered the position the United States, I have

19   considered the advisory guideline range.

20                 Among other things, I'm to consider the nature and

21   circumstances of the offense and the history and

22   characteristics of the defendant, the need for the sentence

23   imposed to reflect the seriousness of the offense, to promote

24   respect for the law and provide just punishment.

25                 The need for the sentence imposed to deter others who


            Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 28 of 35
                                                                                   29



 1   might choose to engage in the criminal behavior that brings you

 2   here; the need for the sentence imposed to protect the public

 3   from further crime by you; the need for the sentence imposed to

 4   provide you with needed education or vocational training,

 5   medical care or other correctional treatment in the most

 6   effective manner.

 7              The statute lists numerous other factors.                 I have

 8   considered all those factors, although I won't mention each one

 9   individually.

10              As for the nature and circumstances of the offense,

11   there were five offenses here:          Conspiracy to distribute a

12   quantity of heroin, distribution of a quantity heroin and

13   aiding and abetting, and possession of a firearm by felon.                    You

14   engaged in all of this conduct in your role as the leader of

15   the Bloods gang in Wilmington, so-called five-star general.

16              As part of your gang leadership role you obviously

17   were actively participating in distributing heroin in

18   Wilmington.     The conduct of the gang was captured on the Title

19   III wiretap and through other law enforcement efforts as we've

20   talked about here.

21              Your criminal behavior includes not only the

22   distribution of heroin and conspiracy to distribute heroin, but

23   the leadership in the gang, including a conspiracy to commit

24   murder and/or aggravated assault in connection with a rival

25   gang member named Gullah in Wilmington.


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 29 of 35
                                                                                 30



 1              The PSR details in a quite chilling fashion your

 2   plans in paragraphs 26 through 35 to gather up the weapons and

 3   lead a team of gang bangers to Goldsboro to murder Gullah.

 4              As a result of the Title III wiretap and execution of

 5   the search warrant, you weren't able to effect that murder.

 6              You also conspired to rob Reese Gotti, Bellamy, as

 7   reflected in paragraphs 36 through 43 of the PSR; again

 8   criminal behavior; again, the PSR details in chilling fashion

 9   the depth of your criminality and the gravity and willingness

10   to do whatever it took to advance an interest of the gang and

11   your own interest.

12              Likewise, the PSR details your conspiracy to assault

13   or murder BO Boys; again, some perceived rival gang members.

14   The PSR also details how you directed gang members to commit a

15   robbery and how you actively recruited gang members,

16   disciplined gang members.         So it's absolutely horrible criminal

17   conduct.

18              As for you, you're 24 years old, you never finished

19   high school.    The report indicates I think you left high school

20   in the tenth grade, you don't have a GED, you never had a job

21   in your life, and smoking dope and getting drunk every day

22   since you were the age of 15.          When you weren't out conducting

23   crimes, you were getting high and getting drunk.                Basically

24   spent a quarter of a century on Earth and done nothing

25   productive at all.


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 30 of 35
                                                                          31



 1                I will impose a sentence today that will protect the

 2   public.   There's a great need for incapacitation in this case.

 3   It's not only that you haven't done anything productive, but

 4   that you've done a lot of bad criminal things.

 5                We've talked about the crimes that bring you here;

 6   but even before that, beginning at age 16, you where convicted

 7   of common law robbery and second degree burglary; at age 18,

 8   felon in possession of a firearm; age 21, conspiracy to sell

 9   and deliver heroin.

10                For all of these crimes you received essentially a

11   slap on the wrist.      There will be no slap on the wrist today.

12   Today there will be punishment.          It will be severe and it will

13   be necessary.     People in New Hanover County have long, long,

14   long needed to be protected from Kejuan Tizom Shabazz Smith and

15   today those people will be.

16                Mr. Smith will reap the world of the life he's chosen

17   to live by getting to spend more time in prison than he's been

18   alive.

19                A sentence at the low end would not promote respect

20   for the law in any way, shape or form.             Whatever good

21   Mr. Taylor is doing, those efforts would be wasted with

22   Mr. Smith.     Mr. Smith needs to be incarcerated for a long time.

23   He is a dangerous man.

24                Having fully considered the entire record in the

25   case, it's the judgment of the Court that the defendant is


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 31 of 35
                                                                              32



 1   hereby sentenced to 240 months on Counts 1, 3, 5 and 6 to be

 2   served concurrently and 87 months consecutive on Counts 12 and

 3   13 producing a total term of 327 months.

 4              Upon release from imprisonment the defendant shall be

 5   placed on supervised release for three years.               This consists of

 6   three years on Counts 1, 3, 5, 6, 12 and 13, all to run

 7   concurrently.

 8              While on release he shall comply with the standard

 9   conditions and the following additional conditions:

10              He'll participate in a narcotic addiction treatment

11   program, he'll consent to a warrantless search, cooperate in

12   the collection of DNA.        He'll pay a special assessment of $600.

13   The Court is not going to impose a fine.

14              I do think I properly calculated the advisory

15   guideline range.      I do note that I'm aware that the Gattis case

16   will address the career offender issue.             Regardless of the

17   outcome of Gattis and how it might impact the calculation of

18   the advisory guideline range in this case, I announce pursuant

19   to U.S. v. Gomez-Jimenez , 750 F.3d 370 (4th Cir. 2014) and U.S.

20   v. Hargrove , 701 F.3d 156 (4th Cir. 2012) that I'd impose the

21   same sentence as an alternative variant sentence.

22              Kejuan Tizom Shabazz Smith needs and deserves a

23   sentence in total of 327 months and I would give him that

24   sentence regardless of whether I miscalculated the advisory

25   guideline range, regardless of whether the Fourth Circuit


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 32 of 35
                                                                                33



 1   ultimately determines in Gattis that the conviction at issue

 2   that we discussed earlier in this sentencing hearing doesn't

 3   qualify, I would vary up and sentence Mr. Smith to this exact

 4   same sentence for all the 3553(a) factors.              He's an

 5   extraordinary, dangerous criminal, he needs to be incarcerated

 6   for the time period I outlined, and I would impose this same

 7   sentence even if I miscalculated the advisory guideline range

 8   as described in Gomez-Jimenez and Hargrove , the two cases that

 9   I have cited.

10               This defendant shall be kept separated from all

11   co-defendants while incarcerated with the BOP.               I recommend

12   intensive substance abuse treatment, vocational and educational

13   opportunities.

14               Mr. Smith, you can appeal your conviction if you

15   believe your guilty plea was somehow unlawful or involuntary or

16   there was some other fundamental defect in the proceeding that

17   was not waived by your guilty plea.

18               You also have a statutory right to appeal your

19   sentence.    With few exceptions, a Notice of Appeal must be

20   filed within 14 days of the judgment being entered on the

21   docket in your case.

22               If you're unable to pay the cost of an appeal, you

23   may apply for appeal in forma pauperis.             If you so request, the

24   Clerk of Court will prepare and file a Notice of Appeal on your

25   behalf.


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 33 of 35
                                                                               34



 1              Anything else, Mr. Hosford?

 2              MR. HOSFORD:       May it please the Court.          We do object

 3   to the sentence and thank the Court for the extra time to meet

 4   and discuss.

 5              THE COURT:      Thank you.

 6              Anything else, Mr. Lathan?

 7              MR. LATHAN:      No, Your Honor.

 8              THE COURT:      Okay.    I thank counsel for their work

 9   here today.

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 34 of 35
                                                                          35



 1                        UNITED STATE DISTRICT COURT

 2                    EASTERN DISTRICT OF NORTH CAROLINA

 3

 4

 5                     CERTIFICATE OF OFFICIAL REPORTER

 6

 7   I, Amy M. Condon, CRR, CSR, RPR, Federal Official Court

 8   Reporter, in and for the United States District Court for the

 9   Eastern District of North Carolina, do hereby certify that

10   pursuant to Section 753, Title 28, United States Code, that the

11   foregoing is a true and correct transcript of the

12   stenographically reported proceedings held in the

13   above-entitled matter and that the transcript page format is in

14   conformance with the regulations of the Judicial Conference of

15   the United States.

16

17

18   Dated this 14th day of February, 2018.

19

20
                                          /s/ Amy M. Condon______
21                                        Amy M. Condon, CRR, CSR, RPR
                                          U.S. Official Court Reporter
22

23

24

25


         Case 7:16-cr-00120-D Document 399 Filed 02/14/18 Page 35 of 35
